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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF MICHIGAN

 

In re: Case No. 19-04261
Chapter 11
KHAN AVIATION, INC., Hon. Scott W. Dales
Debtor.

 

 

DEBTOR’S EMERGENCY MOTION FOR (i) ENTRY OF AN INTERIM AND
FINAL ORDER (a) AUTHORIZING IT TO USE CASH COLLATERAL; AND

(b) PROVIDING ADEQUATE PROTECTION AND OTHER RELIEF
NOW COME Debtor, Khan Aviation, Inc., by and through his attorneys, Wardrop &
Wardrop, P.C. and Haller & Colvin, P.C., and for his Emergency Motion for: (i) Entry of an Interim
and Final Order (a) Authorizing It to Use Cash Collateral; and (b) Providing Adequate Protection
and Other Relief (“Motion”), state as follows:
INTRODUCTION
1. On October 8, 2019 (“Petition Date”) the Debtor filed for protection under Chapter
11 of the United States Bankruptcy Code (“Code”).
Des On the same day Najeeb Ahmed Khan (Case No. 19-04258), GN Investments, LLC
(Case No: 19-04262), NAK Holdings, LLC (Case No: 19-04267), NJ Realty, LLC (Case No: 19-
04266), Sarah Air, LLC (Case No: 19-04268), and KRW Investments, Inc. (Case No: 19-04264)
(collectively with the Debtor referred to as the “Debtors”).
3. The primary goal of these Chapter 11 Cases is to facilitate the orderly liquidation
of the Debtors’ assets in an effort to maximize the value of the Debtors’ estates for the benefit of

its creditors. The value of the Debtors’ assets is diminishing due to various creditor and other

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party-in-interest actions that have served to diminish value and frustrate the Debtors’ attempts to
liquidate assets to date.!

4. The claims of the creditors arise primarily from the alleged financial
mismanagement (the “Mismanagement”) by Debtor Najeeb Ahmed Khan (“Mr. Khan”) of a
company named Interlogic Outsourcing, Inc. (“IOI”). Mr. Khan is the sole shareholder of IOI,
but has given up all voting and management rights.’

‘5. The mismanagement is also the subject of a pending criminal investigation. Mr.

Khan is fully cooperating with the federal authorities and has retained separate criminal defense
counsel in that matter.

6. KeyBank National Association (“KeyBank”), the largest creditor of the Debtors,
provided certain payroll processing and ACH processing services to IOI for the benefit of IOI
customers. Mr. Khan voluntarily reported the Mismanagement to KeyBank on Monday, July 8,
2019. He has fully cooperated with KeyBank since that time to mitigate any damages incurred by

KeyBank, as well as IOI’s clients, by providing information and full cooperation.

 

1 For example, IOI, due to its size and scope, was often courted by investors and other buyers, with discussions taking
place as late as June 2019. Two industry buyers and one financial buyer were negotiating offers in the over $50 million
range. IOI had previously received an offer on or around March 23, 2017, to purchase the IOI company’s stock and
assets for approximately $69,000,000. After Mr. Khan voluntarily reported the Mismanagement to KeyBank, he also
provided contacts and other information regarding ongoing discussions as referenced above. However, by KeyBank
taking the series of actions described below, IOI’s assets were ultimately sold by the IOI CRO for just $3,500,000.
As just one other example of the diminishment of the value of the Debtors’ assets because of various and competing
creditor actions, a planned auction of the Mr. Khan’s extensive automobile collection, with an approximate value of
at least $36,000,000.00, that was to take place on around November 8, 2019, was halted on or around August 15, 2019,
because of competing creditor actions and a restraining order halting such auction.

2 10] and its affiliated group of companies were founded by Mr. Khan beginning in 2002 and provide payroll, payroll
tax, and benefit administration services directly to clients throughout the United States. On July 11, 2019, at
KeyBank’s direction, Mr. Dan Wikel of Huron Consulting was introduced by Mr. Khan to IOI leadership and given
management control of IOI. On July 13, 2019, Mr. Khan was directed by KeyBank to appoint Timothy Daileader of
Drivetrain LLC as Independent Director and Sole Manager of the Debtors (the “Independent Director”) and ceded all
voting rights and control of IOI as the Director as of that date. Mr. Daileader then appointed the chief restructuring
officer who later commenced Chapter 11 bankruptcy proceedings for IOI and its affiliates in the United States
Bankruptcy Court for the Northern District of Indiana (South Bend Division), Case No. 19-3 1445-hcd (jointly
administered) (the “IOI Bankruptcy Case”).

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7. Certain transfers initiated on July 5, 2019, failed for insufficient funds and resulted
in overdrafts on KeyBank’s payroll processing accounts (the “KeyBank Claim”). While the actual
amount of the KeyBank Claim is unknown, upon information and belief the amount of the loss
may be up to $139,400,000.

8. Other creditors have filed claims related to the Mismanagement, including clients
of IOI with claims related to the non-payment of employee withholding tax deposits (the “Client
Claims”). On July 9, 2019, and subsequently, Mr. Khan has provided information regarding the
availability of funds to be used to fund client accounts and on how to resolve other client liabilities,
including tax liabilities. Debtors believe the total amount of Client Claims may be approximately
$35,000,000. Upon information and belief, approximately $17,000,000 of client funds as of July 8,
2019, were on deposit at Chase Bank or other banks in IOI accounts and Debtor understands that
a large portion are subject to a pending claim by KeyBank. Those funds are not assets of these
Debtors.

9. On July 9, 2019, KeyBank filed a lawsuit against Mr. Khan and IOI in the United
States District Court for the Northern District of Ohio, seeking, among other things, a temporary
restraining order against Mr. Khan. See Case No. 19-01566 (the “KeyBank Lawsuit”).

10. While complete documents were not made available to Mr. Khan, at the request
and direction of KeyBank, and without independent counsel or the opportunity to review the
documents he was signing, on July 12, 2019, Mr. Khan executed a Security Agreement in favor of
KeyBank and subsequently executed numerous other security and pledge instruments that will be
the subject of an adversary proceeding to be filed with these cases. Each of these bankruptcy cases
were filed within ninety (90) days of the above-referenced pledges, making such pledges avoidable

for the benefit of the Debtors’ estates.

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11. On July 16, 2019, an Agreed Order Granting Preliminary Injunction was entered
in the KeyBank Lawsuit enjoining Mr. Khan’s transfer and use of funds and authorizing Mr.
Khan’s use of funds pursuant to an agreed-upon budget. This budgeting process continued up to
the Petition Date. During this almost three (3) month period, Mr. Khan has abided by the budget
agreed to with KeyBank.

12. Certain of IOI clients also sued IOI, Mr. Khan and former IOI officers in an action
in the Elkhart Superior Court, State of Indiana, Case No. 20D02-1908-PL-000208 (the “Elkhart
Litigation”). That action has been removed to the United States Bankruptcy Court for the Northern
District of Indiana, where a proceeding instituted by IOI is pending. IOI’s assets were recently
sold in that action. Further, one Michigan creditor of IOI has sued Mr. Khan and KeyBank in an
action in Livingston County, Michigan. That matter has been removed to the United States
Bankruptcy Court for the Eastern District of Michigan. Additional creditor claims are anticipated.

13. Mr. Khan’s spouse since 1990, Nancy Lee Khan (“Ms. Khan”), filed a complaint
for separate maintenance on August 8, 2019, in the Cass County Circuit Court in which she seeks
an equitable division of the parties’ marital estate (the “Separate Maintenance Action”).?

14. In the Separate Maintenance Action, Ms. Khan has sought and obtained several ex
parte restraining orders against the transfer or dissipation of assets in which Mr. Khan maintains
any interest. KeyBank is challenging the provisions of the most recent Cass County restraining
order as that order pertains to KeyBank.

15. To effectuate the goal of these Chapter 11 Cases, ie., to facilitate the orderly
liquidation of the Debtors’ assets, many of which were acquired prior to the Mismanagement, and

in an effort to maximize the value of the Debtors’ estates for the benefit of its creditors, the Debtors

 

3 Ms. Khan currently resides in the marital home in Edwardsburg, Michigan, in Cass County. Mr. Khan resides in a
guest residence located on the same jointly owned property.

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intend to file motions with the Court as soon as possible to authorize the sale of the Debtors’
non-exempt assets for the benefit of its creditors, in consultation with KeyBank and its other
creditors. Mr. Khan also intends to seek a prompt determination with respect to his exempt
property, as well as a prompt determination in the Separate Maintenance Action. The Debtors also
intend to expeditiously negotiate the terms of a Plan of Liquidation with KeyBank and its other
creditors that will provide for the resolution of any claim or other disputes and the prompt
distribution of assets to the Debtors’ creditors.

16. The sale of the collectible automobiles will be delayed, for the purposes of
maximizing the sale value until April 1, 2020. The Debtors were, pre-petition, working with the
nationally recognized auction company, RM Sotheby’s, a division of Sotheby’s, to auction the
vehicles. But creditors prevented a timely auction this fall and the Debtors have been advised RM
Sotheby’s that holding off on the auction until April 1, 2020, will increase the amount recovered
by many times the costs (insurance, storage, etc.) incurred by the Estate to wait until April 1, 2020,
for the sale of the automobiles.

SPECIFIC BACKGROUND FOR CASH COLLATERAL MOTION

17. Since the Petition Date, the Debtors have conducted their affairs and operated their
businesses as Debtor-in-Possession pursuant to §§ 1107 and 1108 of the Code.

18. No official committee of creditors holding unsecured claims has been appointed

and no Trustee or Examiner has been appointed in these cases.

19. A Declaration in support of this Motion is attached as Exhibit B which also
references proposed budgets attached as Exhibit C-1 through Exhibit C-4 (the “Budgets”.

20. The Debtor files this Motion pursuant to Fed. R. Bankr. P. 4001 and L.B.R. 4001-3

(W.D.M.).

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21. This Court has jurisdiction over these matters relating to this Motion pursuant to 28
U.S.C. §1334(a). This is a core matter pursuant to 28 U.S.C. §157(b)(2)(M). The statutory
predicates for the relief sought herein are Sections 105, 361, and 363 of the Bankruptcy Code and
Bankruptcy Rules 4001 (a), (b) and (d) and LBR 4001-3. Venue of the Chapter 11 case in the Court
is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

22s The Debtors are an individual, Mr. Khan, and certain entities that the individual is
a 100% owner of.

23. | Mr. Khan and the other Debtors own, among other things, accounts and various
assets of high value, including collector automobiles and aircraft.

24. | Mr. Khan requires the use of cash to pay his personal living expenses and, most
importantly to pay, certain expenses related to the preservation and maintenance of his and the
other Debtors’ assets.

25. Upon information and belief, KeyBank asserts an interest in the cash collateral of
the Debtors (arising from various pledges and other guaranties that are the subject of an adversary
proceeding that will be filed to avoid those interests.)

26. The Debtors recognize the potential concern that creditors, the Court, and other
parties in interest may have regarding the Debtor’s alleged Mismanagement with respect to the
Debtor’s functioning as debtor-in-possession of its estates. Mr. Khan has remained in control of
the Debtors’ assets since being subject to the Ohio Budget in July, which budget has been updated
and approved monthly by KeyBank.*

27. The Debtors have also retained Delta Management Resources, LLC (“Delta”), led

by William Beck (“Mr. Beck”), to act as the financial advisor to the Debtors and Liquidation

 

4 Mr. Khan is also intimately familiar with the assets of the Debtors, having acquired them over many years (many
well prior to the time period related to the Mismanagement).

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Agreement to provide oversight, supervision and reporting to the Bankruptcy Court and creditors
of the estate with respect to the use of Debtors funds during the pendency of the bankruptcy cases,
and to facilitate and implement an orderly liquidation of the assets to maximize their value.

28. | Mr. Beck is well-known and highly respected in this district and has served as
financial advisor in many in court and out of court distressed matters and has specialized
knowledge regarding the liquidation of collectible motor vehicles, airplanes and other financial
assets. Mr. Beck also has extensive knowledge and experience in complex liquidations including
with respect to the type of personal property owned by the Debtors, and will serve an invaluable
role in coordinating the on-going liquidation of the assets for the benefit of all creditors.

29. Delta was retained shortly prior to the filing of the cases, and has developed the
attached Budget to control the proposed allowed expenditures of the Debtors. Delta will oversee
all expenditures and business decisions, and will prepare and provide regular reporting of the
expenditures to the Court, creditors, and parties in interest, in the corporate case and the individual
case.

SUMMARY OF THE RELIEF REQUESTED

30. Through this Motion, the Debtor seeks entry of an interim and final Order, in the
form attached as Exhibit A or in such alternative terms as the Court finds just and equitable: (i)
granting and affirming adequate protection to secured creditors; (ii) authorizing use of cash
collateral on an interim basis; and (iii) scheduling a final hearing.

31. Upon information and belief, the only creditor asserting a lien in cash collateral is
KeyBank. Debtor Najeeb Ahmed Khan’s wife may assert an interest in cash collateral.

32. As adequate protection for any security interests that might be retained by KeyBank
after litigation of the Adversary Proceeding to be filed, and as further set forth in paragraph {[32,

the Debtors offer replacement lien(s) in all types and descriptions of collateral which are

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purportedly held by KeyBank, acquired or arising after the Petition Date, to the extent provided in
11 U.S.C. § 361(2) in the same rank, validity and priority as existed pre-petition, and such
additional adequate protection as more fully described in this Motion and in the proposed Order,
subject to challenge by the Estate or another interested party.

33. | The Debtor seeks an entry of an interim and final Order authorizing use of cash
collateral to preserve the Debtors’ operations and the Debtors’ estates for the benefit of their
creditors. In compliance with Rule 4001(d), the Debtor states:

a. Upon information, the only entity which could claim an interest in cash
collateral is KeyBank and Nancy Khan; and

b. Pursuant to the proposed Order and as further set forth in paragraph (31, the
Debtor proposes to grant the allegedly secured creditor continuing security
interests, consistent with the proposed Order, to protect said creditor (to the
extent KeyBank retains lien interests after litigation of the Adversary

Proceeding to be filed) from a decrease in value in their respective collateral
from the Petition Date pursuant to 11 U.S.C. §361(2).

SUMMARY OF SECURED CLAIM

34. | KeyBank claims that the Debtor is liable for amounts due and owing to it by
Interlogic Outsourcing, Inc. pursuant to payment guarantees that were allegedly entered into by
KeyBank and the Debtors in July of 2019. To secure these obligations, within 90 days of the filing
of the Bankruptcy Petitions, KeyBank was granted a security interest in substantially all of Mr.
Khan’s assets, GN Investments’ assets, NAK Holdings’ assets, Sarah Air’s assets, KRW
Investments’ assets, NJ Realty’s assets, and Khan Aviation’s assets. Such security interests were
perfected by the filing of UCC-1 Financing Statements in the appropriate states between July 15,
2019, and July 22, 2019. (All within 90 days of the date of filing of the Bankruptcy Petition).
Debtors assert that the security interests and attendant liens are avoidable under 11 U.S.C. §§547

and 548.

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35. | KeyBank’s security interest in motor vehicles owned by Mr. Khan, GN Investments
and NAK Holdings may have been perfected by the addition of KeyBank as lienholder on the titles
to the vehicles sometime after July 19, 2019, and thus within 90 days of the Bankruptcy Petitions.
KeyBank’s security interest in Mr. Khan’s capital stock may have been perfected by the transfer
of the capital stock through stock transfer certificates on or about July 19, 2019. Debtors assert
that these transfers are likewise avoidable under 11 U.S.C. §§547 and 548.

36. | The Debtor would assert that there was no consideration for the security interests
granted to Key Bank.

37. | Debtor would point out to the Bank that there are several assets that, even if the
security interest granted would not be subject to being set aside as a preference or fraudulent
conveyance, are assets in which Key Bank is clearly not perfected. Debtor has numerous bank
accounts in which Key Bank does not have a control agreement or any other type of perfection in
such accounts.

SUMMARY OF THE DEBTOR’S ASSETS

38. The following is a partial summary of the Debtors’ significant personal property
assets that are the subject of this Motion. The values listed below are estimates provided by Debtor,
based upon his knowledge of the assets as of October 7, 2019:°

a. Bank Accounts (by Debtor):

i. NJ Realty, LLC — 1st Source - #4107 - $23,109
ii. GN Investments, LLC — 1st Source - #7998 - $40,638
iii. Najeeb Khan —

1. 1st Source - #8068 - $886,087.15

2. 1st Source - #6709 - $14,618.20 (joint with wife)

 

5 Any values stated herein are estimates only and subject to the Debtors’ filing of their schedules.

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3. Lake City Bank — $145,200.45
4. HSA Account - $73,471.43
5. KeyBank Trust Account #1941 - $1,165,000.00
iv. Khan Aviation — 1st Source #0291 - $2,489.00
V. KRW Investments - 18t Source #2340 - $3,357.00
b. Notes Receivable (by Debtor)
i. GN Investments - $1,763,701
& Other Personal Property (by Debtor):
i. Vehicles (by Debtor)
1, NAK Holdings, LLC - $5,625,000
2. Najeeb Khan - $30,821,750 (Car Collection)
ii. Aircraft and Aviation Equipment and hangars (by Debtor)
1. Sarah Air, LLC - $885,000
2. Khan Aviation - $2,065,000 (net of lien)
iii. Bonds, Mutual Funds, Stocks (by Debtor)
1. GN Investments, LLC - $437,500
2. Najeeb Khan - $3,063,000
d. Deposits (by Debtor)
i. NAK Holdings, LLC - $89,372
39. | The Debtor do not waive any rights they have against KeyBank including, but not
limited to, their avoidance powers pursuant to 11 U.S.C. § 544 et seq.
REQUESTED USE OF CASH COLLATERAL
40. The Debtor has an immediate need for use of cash collateral to meet his necessary,

ordinary course business expenditures and, most importantly, to preserve the value of its estates

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for the benefit of all creditors (see Declaration of Najeeb Ahmed Khan attached hereto as
Exhibit B).

41. The Debtors have, with the assistance of its financial advisor Mr. Beck, prepared
budgets for each Debtor (the “Budgets”) attached as Exhibit C-1 to Exhibit C-4, which contain
an anticipated budget of necessary expenditures going forward that are necessary to be paid to
avoid irreparable harm to each of the bankruptcy estates for the next thirty (30) days.

42. On the basis of the adequate protection submitted below, the Debtors submit that
they should be granted authority to use cash collateral, in accordance with the Budgets.

OFFERS OF ADEQUATE PROTECTION TO SECURED CREDITORS

43. The Debtor proposes to use cash collateral to fund payment of normal and ordinary
post-petition operating expenses (including, without limitation, the payment of post-petition
professional fees and expenses approved by this Court in accordance with the requirements of the
Code) as and when incurred, with such usage in general accordance with the Budget. The Debtor
anticipates that some of the costs are variable and, as such, anticipates that some of the expenses
will be slightly lower than that presented in the Budgets and some of their expenses may be slightly
higher.

44. The Debtor believes that to the extent the value of the Cash Collateral Assets
diminish during the Budget periods, the value of the collectable automobiles will be enhanced by
several times the total of Debtor’s expenditures as a result of the proposed proper administration
and sale of the automobiles. Debtor has been advised that an immediate sale of the automobiles
will result in a loss of value in the vehicles of several million dollars as opposed to a sale in the

spring of 2020.

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45. As adequate protection under §361 and §363 of the Code with respect to the
Indebtedness and for any diminution in the Prepetition Collateral (whether Cash Collateral or
otherwise), the Debtor offers the following to KeyBank:

a. Unless and until the avoidance of KeyBank’s alleged security interests by a
final order of this Court, the proceeds of any sale by the Debtors of any
property subject to alleged liens held by KeyBank shall, unless KeyBank
agrees in conjunction with the approval of a sale under §363 of the Code,
be paid to KeyBank to be held in a segregated DIP account subject to further
order of this Court;

b. Unless and until the avoidance of KeyBank’s alleged security interests by a
final order of this Court, KeyBank shall be granted continuing and
replacement security interests and liens in all of the Debtors’ post-petition
property, excluding the Debtors’ rights under §§ 544, 545, 546, 547, 548,
549 and 550. However, nothing in this paragraph shall be deemed to provide
KeyBank with an improvement of position from the values of its collateral,
as of the date of the Petition nor grant any interests in any property which
KeyBank did not have a properly perfected lien;

és Delta will oversee all expenditures of Debtors’ funds, which shall be made
only pursuant to the Budget, and shall provide reporting of such
expenditures on a periodic basis as set by the Court; and
d. The Debtors will make available to KeyBank or any other creditor
requesting such information all reports and documents as are required to be
filed with the Office of the United States Trustee as well as proof of timely
payment of taxes and insurance payments required to be paid under the
terms of this Court’s definitive order.
NOTICE AND FINAL HEARING
46. Notice of this Motion will be provided to (a) the United States Trustee for the
Western District of Michigan; (b) all secured creditors identified by the Debtor which may have a
claim in Debtor’s Cash Collateral; (c) the Debtor’s twenty (20) largest unsecured creditors; (d) any
other parties required to be served by Fed. R. Bankr. P. 4001; and (e) any party that has filed, prior
to such date, a request for notices with this Court.

47. The Debtor further requests that the Court schedule a final hearing on this Motion

and authorize it to serve copies of an interim order entered by the Court which fixes the time, date

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and manner for the filing of objections to (a) the United States Trustee for the Western District of
Michigan; (b) all secured creditors identified by the Debtor; (c) the Debtor’s top twenty (20)
unsecured creditors; (d) any other parties required to be served by Fed. R. Bankr. P. 4001; and (e)
any party that has filed, prior to such date, a request for notices with this Court. The Debtor requests
that the Court consider such notice of the final hearing to be sufficient under Fed. R. Bankr. P.
4001.
CONCLUSION

WHEREFORE, the Debtor respectfully requests this Honorable Court grant the relief

requested in this Motion, authorizing the use of cash collateral, and granting adequate protection

pursuant to the terms set forth herein or on such terms as the Court finds just and equitable.

Respectfully submitted,

WARDROP & W il
Ge
Dated: October! /, 2019 By: Ie Bi JV)

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EXHIBIT A —- PROPOSED ORDER

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF MICHIGAN

 

In re: Case No. 19-04261
Chapter 11
KHAN AVIATION, INC., Hon. Scott W. Dales
Debtor.

 

 

ORDER GRANTING DEBTOR’S EMERGENCY MOTION FOR (i)
ENTRY OF AN INTERIM AND FINAL ORDER (a) AUTHORIZING IT
TO USE CASH COLLATERAL; AND (b) PROVIDING ADEQUATE
PROTECTION AND OTHER RELIEF

THIS MATTER having come to be heard upon the Debtor’s Emergency Motion for: (i)
Entry of an Interim and Final Order (a) Authorizing It to Use Cash Collateral; and (b) Providing
Adequate Protection and Other Relief (“Motion”); and the Court noting due service upon all
creditors and parties in interest; and the Court being otherwise fully advised in the premises;

IT IS THEREFORE ORDERED:

1. The Debtor may use cash collateral to fund payment of normal and ordinary post-
petition operating expenses (including, without limitation, the payment of post-petition
professional fees and expenses approved by this Court in accordance with the requirements of the
Code) as and when incurred through and including the date of the Final Hearing delineated herein
as set forth in the attached Budgets, except for deviations from the Budgets as approved by
KeyBank in writing.

2. The Debtor shall comply with 931 of the Motion in order to provide KeyBank
adequate protection pursuant to §§361 and 363 of the Code with respect to the Indebtedness and
for any diminution in the Prepetition Collateral (whether Cash Collateral or otherwise) pursuant to

§361(2).

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3. The Debtor’s authority to use cash collateral shall continue unless: (i) the Debtor
fails to materially comply with the terms recited in §31 of the Motion; (ii) a Chapter 11 Trustee is
appointed in the Debtor’s estate; (iii) the Debtor’s Chapter 11 case is converted to a proceeding
under Chapter 7; and (iv) an Order is entered dismissing this case without KeyBank’s consent.

4. A Final Hearing on the Debtor’s Motion will be held on , at
the United States Bankruptcy Court for the Western District of Michigan located at

(“Final Hearing”) which may be adjourned or continued by the Court at

 

the Final Hearing. Within 48 hours of the entry of this Order, or if this Order shall be entered on a
Friday or a day immediately preceding a legal holiday then, by the conclusion of the next business
day, the Debtor shall serve, or cause to be served, a copy of this Order on all parties required to be
served under Fed. R. Bankr. P. 4001(d), including (a) all creditors holding secured claims of
record; (b) any creditors’ committee appointed pursuant to § 1102 of the Code, or if no committee,
Debtor’s twenty largest (20) unsecured creditors; (c) all parties who have timely filed requests for
notice under Bankruptcy Rule 2002; and (d) the United States Trustee. Any objection to this Order
shall be in writing and shall be filed with the Court and served upon the Debtor (Wardrop &
Wardrop, P.C., Attn: Robert F. Wardrop II); and upon the United States Trustee not later than five
(5) days prior to the date set for the Final Hearing as set forth above.

De If no objection is made to this Order, it may become final at the Final Hearing.

END OF ORDER

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EXHIBIT B - DECLARATION

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF MICHIGAN

 

In re:

NAJEEB AHMED KHAN,

Debtor.

 

In re:

KHAN AVIATION, INC.

Debtor.

 

In re:

GN INVESTMENTS, LLC,

Debtor.

 

In re:

KRW INVESTMENTS, INC.

Debtor.

 

In re:

NJ REALTY, LLC,

Debtor.

 

In re:

NAK HOLDINGS, LLC,

Debtor.

 

In re:

SARAH AIR, LLC

Debtor.

 

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Hon. Scott W. Dales

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Hon. Scott W. Dales

Case No. 19-04266
Chapter 11
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DECLARATION OF NAJEEB AHMED KHAN

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1. I am a debtor and also the 100% owner of the other debtors in these cases
(individually, a “Debtor” and collectively the “Debtors”). I have read, and I am familiar with the
assets described in, the Emergency Motion for: (i) Entry of an Interim and Final. Order (a)
Authorizing It to Use Cash Collateral; and (b) Providing Adequate Protection and Other Relief

(“Motion for Use of Cash”).

De The factual allegations contained in the Motion for Use of Cash are true and
accurate.
3 I execute this Declaration in support of the Motion for Use of Cash and further

verify the following information regarding same.

4. The Debtors have an immediate need to use cash collateral for necessary expenses
as set forth in its Motion for Use of Cash.

Dis The Debtors are myself and certain entities that I am 100% owner of.

6. I and the other Debtors own, among other things, accounts and various assets of
high value, including collector automobiles and aircraft and boats.

7. I require the use of cash to pay my personal living expenses and certain expenses
related to the preservation and maintenance of my and the other Debtors’ assets.

8. Upon information and belief, KeyBank asserts an interest in the cash collateral of
the Debtors, arising from various pledges and other guaranties. I anticipate those interests will be
the subject of an adversary proceeding to avoid those interests.

2. I have remained in control of the Debtors’ assets since July 2019, when a budget
was entered into in Key Bank, N.A. v. Najeeb Khan, et al., Case No. 19-01566, U.S. District Court,

N.D. OH. This budget was previously updated and approved monthly by KeyBank.

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10. The Debtors have also retained Delta Management Resources, LLC (“Delta”), led
by William Beck (“Mr. Beck”), to act as the financial advisor to the Debtors to provide oversight,
supervision and reporting to the Bankruptcy Court and creditors of the estate with respect to the
use of Debtors funds during the pendency of the bankruptcy cases. Delta will oversee all
expenditures, and will prepare and provide regular reporting of the expenditures to the Court,
creditors, and parties in interest.

11. The following is a partial summary of the Debtors’ significant personal property
assets that are the subject of this Motion. The values listed below are estimates provided by
Debtors, based upon their knowledge of the assets as of October 7, 2019:

a. Bank Accounts (by Debtor):

i. NJ Realty, LLC — 1st Source - #4107 - $23,109
il. GN Investments, LLC — 1st Source - #7998 - $40,638
iii. Najeeb Khan —
1. 1st Source - #8068 - $886,087.15
2. Ist Source - #6709 - $14,618.20 (Gjoint with wife)
3, Lake City Bank — $145,200.45
4, HSA Account - $73,471.43
5. KeyBank Trust Account #1941 - $1,165,000.00
iv. Khan Aviation — 1st Source #0291 - $2,489.00
Vv. KRW Investments - 15t Source #2340 - $3,357.00
b. Notes Receivable (by Debtor)
iL, GN Investments - $1,763,701

& Other Personal Property (by Debtor):

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i. Vehicles (by Debtor)
1. NAK Holdings, LLC - $5,625,000
2. Najeeb Khan - $30,821,750 (Car Collection)
ii. Aircraft and Aviation Equipment and hangars (by Debtor)
1. Sarah Air, LLC - $885,000
2 Khan Aviation - $2,065,000 (net of lien)
iil. Bonds, Mutual Funds, Stocks (by Debtor)
1. GN Investments, LLC - $437,500
2. Najeeb Khan - $3,063,000
d. Deposits (by Debtor)
i. NAK Holdings, LLC - $89,372

12. I and the other Debtors have an immediate need for use of cash collateral to meet
necessary, ordinary course business expenditures and, most importantly, preserve the value of
these estates for the benefit of all creditors.

13. have, with the assistance of its financial advisor Mr. Beck, prepared budgets for
each Debtor (the “Budgets”) attached as Exhibit C-1 to Exhibit C-4 to the Motion, which contain
an anticipated budget of necessary expenditures going forward that are necessary to be paid to
avoid irreparable harm to each of the bankruptcy estates for the next thirty (30) days.

14. I anticipate that some of the costs are variable and, as such, anticipates that some
of the expenses will be slightly lower than that presented in the Budgets and some of their expenses

may be slightly higher.

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I declare under penalty of perjury that the foregoing is true and correct. / /]
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Y tt fl “Wh,
“ff A JL LAA
NATEEB AHMED cHAN
/
/

yf
“o

Subscribed and sworn to before me this
day of October, 2019.

Ly hosen C2 User the

Ke WCC. Al Van til é__, Notary Public
o7yt / County. Michigan

My Commission Expires: be KS fred 5,
Acting in the County of Ae QD

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EXHIBIT C - BUDGETS
Exhibit C-1 Budget for Najeeb Ahmed Khan
Exhibit C-2 Budget for Khan Aviation, Inc.
Exhibit C-3 Budget for KRW Investments, Inc.

Exhibit C-4 Budget for NJ Realty, LLC

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Interest/Dividends
Sale of Assets
Other

TOTAL

Household Utilities
Power/Electric Monthly Estimate
Gas Monthly Estimate
Water/Sewer Quarterly Estimate
Cable/Internet/Communications Monthly Estimate
Maintenance & Repairs As Incurred Estimate
Insurance As Incurred Actual
Property tax As Incurred Actual

Other As Incurred Estimate

Sub-Total

Living Expenses
Groceries Weekly Average
General/Discretionary Weekly Average
Insurance-Medicare Monthly Estimate
Elder Care Monthly Actual
Medical Co-Pay/Drug As Incurred Average
Other As Incurred Estimate

Sub-Total

(Personal)
Fuel Weekly Estimate
Maintenance & Repairs As Incurred Estimate
Insurance As Incurred Actual

Sub-Total

Professional Fees
Legal As Approved| Estimate
Accounting/Tax As Approved| Estimate
Financial Advisor As Approved| Estimate
Other As Incurred Estimate

Sub-Total

CATEGORY SUB-TOTAL 2,200 | $ 1,925 1,775 15,150

 

EXHIBIT C-1
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Other Residences
Power/Electric-AZ & FL
Gas-AZ & FL
Water/Sewer-AZ & FL
Cable/Internet/Communications-FL
Garbage-Consolidated
Maintenance & Repairs
Insurance
Property Tax-Arizona
Property Tax-Florida
HOA Fees-Florida
HOA Fees-Arizona
Other

Sub-Total

Auto (Investment)
Storage
Maintenance
Insurance
Other

Sub-Total

Marine/Aircraft
Storage
Maintenance-Marine
Maintenance-Sarah Air
Maintenance-NAK Holding
Loan to Khan Aviation
Loan to KRW Investments
Loan to NJ Realty
Insurance
Other

Sub-Total

CATEGORY SUB-TOTAL

TOTAL DISBURSEMENTS

CASH FLOW

Monthly
Monthly
Monthly
As Incurred
Monthly
As Incurred
As Incurred
As Incurred
As Incurred
Quarterly
Monthly

As Incurred

As Required
Average
TBD
TBD

As Incurred
As Incurred
As Incurred
As Incurred
As Incurred
As Incurred
As Incurred
Annual

As Incurred

Estimate
Estimate
Estimate
Estimate
Actual
Estimate
Actual
Actual
Actual
Actual
Actual

Estimate

Actual
Estimate
Actual

Estimate

Actual
Estimate
Estimate
Estimate

Actual

Actual

Actual

Actual
Estimate

27,000

250

350
140,000

140,350

560

28,000
18,000

46,560 12,000 3,500 20,000
55,488 14,991 4,100 187,600

60,113 17,191 6,025 189,375

(59,285) (17,191) (6,025)

1,750
140,000

141,750

50,000 79,000
1,000 41,000

51,560 133,620

54,092 316,271

58,717 331,421

(57,

 
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Non-Qualified Accounts
1st Source Bank-Lead Account-8068 (7/9 Stmt) 886,087 826,802 809,611 803,586 )/$ 614,211
1st Source Bank-Lead Account-6709 (7/24 Stmt) 14,618 14,618 14,618 14,618 14,618
Lake City Bank 145,200 145,200 145,200 145,200 145,200
Chase Bank 979,128 979,128 979,128 979,128 979,128
RPCA Financial Ventures 109,029 109,029 109,029 109,029 109,029
E*Trade 740,339 740,339 740,339 740,339 740,339
Wells Fargo Advisors 1,182,130 1,182,130 1,182,130 1,182,130 1,182,130
otal 4,056,532 3,997,247 3,980,056 3,974,031 3,784,656

Qualified Accounts
Wells Fargo (IRA) 224,587 224,587 224,587 224,587 224,587
John Hancock (401K) 543,491 543,491 543,491 543,491 543,491
HSA Bank 73,471 73,471 73,471 73,471 73,471
otal 841,550 841,550 841,550 841,550 841,550

Non-Qualified Accounts
1st Source Bank-Lead Account-8068 826,802 809,611 803,586 614,211 556,322
1st Source Bank-Lead Account-6709 14,618 14,618 14,618 14,618 14,618
Lake City Bank 145,200 145,200 145,200 145,200 145,200
Chase Bank 979,128 979,128 979,128 979,128 979,128
RPCA Financial Ventures 109,029 109,029 109,029 109,029 109,029
E*Trade 740,339 740,339 740,339 740,339 740,339
Wells Fargo Advisors 1,182,130 1,182,130 1,182,130 1,182,130 1,182,130
otal 3,997,247 3,980,056 3,974,031 3,784,656 3,726,767

Qualified Accounts
Wells Fargo (IRA) 224,587 224,587 224,587 224,587 224,587
John Hancock (401K) 543,491 543,491 543,491 543,491 543,491
HSA Bank 73,471 73,471 73,471 73,471 73,471
otal 841,550 841,550 841,550 841,550 841,550

1] No disposition of t lated cash r ipts or ii have been included within the forecast horizon.

 

or
3) Forecast Mode! Reflects All Cash Activity in Account 8068.
4) Line 4 is debtor's social security benefit.

P

 
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Interest/Dividends
Sale of Assets
Loan Proceeds
Other

TOTAL

Khan Aviation
Loan Payment-PNC
Power/Electric
Gas
Water/Sewer
Cable/Internet/Communications
Maint. & Repair-Facility
Maint. & Repair-Aircraft
Insurance
Property tax
Security
Legal
Accounting/Tax
Financial Advisor
Other

AL

CASH FLOW

Monthly
Monthly
Monthly
Monthly
Monthly
As Required
As Required
Monthly
TBD
Monthly
As Approved
As Approved
As Approved

As Incurred

Beginning Balance -1st Source Bank-Account-0291
Add: Cash receipts

Less: Disbursements
Ending Balance -1st Source Bank-Account-0291

Loan Balance

1] No disp

2] Loan Bal reflects prot

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dy from

+

Actual
Estimate
Estimate
Estimate
Estimate
Estimate
Estimate
Estimate
Estimate
Estimate
Estimate
Estimate
Estimate

Estimate

or

—

EXHIBIT C-2

28,000

28,000

$ 27,000
1,800

450

29,950

2,767 | $
28,000
29,950

817

28,000 | $

817

500
317

28,000 | $

50,000 79,000

50,000 79,000

500 2,500
500 49,950 81,400

(500) 50 (2,400)

317 817 317

- 50,000
500 500 49,950
817 317 367

29,000 | $ 28,000

have been included within the forecast horizon

 
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Interest/Dividends - - - -
Sale of Assets a #
Loan Proceeds 18,000 20,000 1,000 41,000
Other - - - -
TOTAL 18,000 20,000]$ 1,000 41,000

Power/Electric Monthly Estimate 300

Gas Monthly Estimate - -
Water/Sewer Monthly Estimate - -
Cable/Internet/Communications Monthly Estimate 73 145
Mortgage Payment-Lake City Bank Monthly Actual 20,000 40,000
Maint. & Repair-Facility As Incurred Estimate -
Insurance As Incurred Actual 2,500
Property tax As Incurred Actual -
Security Monthly Estimate 400
Legal As Approved| Estimate -
Accounting/Tax As Approved Estimate -
Financial Advisor As Approved Estimate -
Other As Incurred Estimate 250

AL

CASH FLOW

Beginning Balance -1st Source Bank-Account 3,358 85

Add: Cash receipts 18,000 - 1,000

Less: Disbursements 20,623 50 623

Ending Balance -1st Source Bank-Accou 735 185 135 85 463
0

Loan Balance 18,000 20,000 | $ 20,000 | $ 40,000} $ 41,000

41] No disposition of assets, related cash receipts or associated expenses have been included within the forecast horizon
Loan Bal: reflects protective ad\ from Najeeb Khan
3] For presentation purposes, the loan from the Najeeb Khan Is reflected at the beginning of the forecast horizon

 

 

EXHIBIT C-3
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Interest/Dividends
Sale of Assets
Loan Proceeds
Other

TOTAL

Power/Electric
Gas
Water/Sewer
Cable/Internet/Communications
Maint. & Repair-Facility
Insurance
Property tax
Security
Legal
Accounting/Tax
Financial Advisor
Other

‘AL

CASH FLOW

Monthly
Monthly
Monthly
Monthly
As Incurred
As Incurred
As Incurred
Monthly
As Approved
As Approved
As Approved

As Incurred

Beginning Balance -1st Source Bank-Account

Add: Cash receipts
Less: Disbursements

Ending Balance -1st Source Bank-Accou

Loan Balance

Estimate
Estimate
Estimate
Estimate
Estimate
Actual
Actual
Estimate
Estimate
Estimate
Estimate

Estimate

300
10,145

(10,1

23,010 22,510 | $ 22,410|$ 22,410}$

500 100 9,445
22,510 22,410 22,410 12,965

 

1] No disposition of assets, related cash receipts or assoclated expenses have been Included within the forecast horizon.

EXHIBIT C-4
